PRoB.12
(Rev. sree) C<'J\S€ 2105'CV'20044-WIDDSEIFAGFESDIBTRII6DEOURFIng 1 Oi 2 Page|D 3

 

 

for Fil.ED i-‘i".‘” !____
wEsTERN I)ISTRICT or TENNESSEE 05 JUP'€ -8 PH le 15
U. s. A. vs. NANCY wHITELEY nocke ”f

 

   

W.i'.>.. `<'Bi= 'i‘i"i§ statistics
Petition on Probation and Su ervised Release
" 0 5 ~ 2 00 65 ‘SL ' /WC/

COMES NOW Nicole D. Peterson _ PROBATION OFFICER OF THE COURT presenting an official

report upon the conduct and attitude of Naney Whiteley , who was placed on supervision by the Honorable Janet C. Hall

sitting in the Court at BridgeMta Connecticut, on the 6_th_ day of April , 20_0_1J who fixed the period of supervision at che

131 years*, and imposed the general terms and conditions theretofore adopted by the Court and also imposed special
conditions and terms as follows:

l , The defendant shall participate in a substance abuse treatment program, either inpatient or outpatienL as directed by
the probation officer which may include testing to determine if the defendant has used drugs or alcohol.

2. The defendant shall participate in mental health eounseling, either inpatient or outpatient, as directed by the probation
officer.

3. The defendant shall make restitution in the amount of $2?,258.00 (Outstanding balance: $24,608) to be paid at the
rate of $50.00 per month.

* Term of Supervised Release began .lune ll, 2002.

** Jurisdiction was transferred to Westem District of Tennessee on December 22, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach)

Ms. Whiteley has failed to satisfy her restitution obligation of $27,258.00. She continues to owe a balance of $24,608.00.
During her term of supervision, Ms. Whiteley has worked sporadically due to domestic violence issues which made it difficult
for her to maintain employment She is actively seeking employment and has just enrolled in school. While employed, Ms.
Whiteley made payments of $50.00 per month as directed. She has indicated that she will be able to maintain this payment
amount upon finding a new job. In speaking with U.S. Attorney Chris Hassen (Dis!rict of Connecticut}, he indicated that his
office would continue to enforce the Court order of $50.00 monthly toward her restitution

PRAYING THAT THE COURT Wl'LL ()RDER that Ms. Whiteley’s term of Supervised Release be allowed to terminate
as scheduled on June 10, 2005 with the understanding that the U.S. Attorney’s Office in the District ofConnecticut will be
responsible for the continued collection of restitution

 

 

 

ORDER OF COURT Respectfully,
Cons_i_c_l_ered and ordered this Z_/ day _`_MMZ=_:=____
of \) W`Q , 20§1_§_, and ordered filed Nicole D. Peterson
and made a part of the records in the above United States Probation Officer
case.
M\V mg ‘ /§§ Plaee: Memphis. Tennessee
w States District .ludge Date: .lune 6. 2005
ment entered on the docket sheet ln compliance l

This docu b
with Flule 55 and/or 32(b) FRCrP on ¢'¢ v g QS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20044 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Terrell L. Harris

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Honorable .1 on McCalla
US DISTRICT COURT

